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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                           SACRAMENTO DIVISION
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15     RALPH COLEMAN, et al.,                              2:90-cv-00520 LKK JFM PC
16                                  Plaintiffs, DECLARATION OF PATRICK R.
                                                McKINNEY IN SUPPORT OF
17               v.                             DEFENDANTS’ POSITION REGARDING
18                                              PLAINTIFFS’ ALLEGED DISCOVERY
       EDMUND G. BROWN JR., et al.,             DISPUTE REGARDING USE OF FORCE
19                                              VIDEOS
                                  Defendants.
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22            I, Patrick R. McKinney, declare as follows:

23            1.   I am a Deputy Attorney General with the California Office of the Attorney General,

24     attorneys of record for Defendants in this case, and I am licensed to practice in this Court. I have

25     personal knowledge of the facts stated in this declaration and if called to testify to those facts,

26     could and would do so competently. I submit this declaration in support of Defendants’ Position

27     Regarding Plaintiffs’ Alleged Discovery Dispute Regarding Use of Force Videos.

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                                       Decl. Patrick R. McKinney Supp. Defs.’ Position Re: UOF Videos
                                                                                   (2:90-cv-00520 LKK JFM PC)
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 1            2.   Plaintiffs have not served a request for production of documents to Defendants
 2     associated with their May 29, 2013 motion related to use of force and disciplinary measures
 3     seeking production of use of force videos, or otherwise.
 4            3.   Since the time the Court issued its March 5, 2013 Order, the use of force videos
 5     previously requested by Plaintiffs have been and remain available for inspection by Plaintiffs’
 6     expert at a mutually agreed-upon CDCR facility. Plaintiffs’ expert Eldon Vail viewed these
 7     videos at San Quentin State Prison on March 13, 2013 and July 22, 2013. True and correct copies
 8     of email correspondence I sent to Plaintiffs’ counsel offering to make the videos available for
 9     inspection at other times are attached as Exhibit 1. Other than the reviews that have taken place,
10     Plaintiffs have not requested that Defendants make the videos available on other dates.
11            4.   Neither Defendants nor their counsel have provided Defendants’ expert copies of the
12     use-of-force videos. Defendants’ expert also has never removed a use-of-force video from a
13     CDCR facility. Indeed, Defendants’ expert reviewed the videos on which Plaintiffs’ expert based
14     his opinions jointly with Plaintiffs’ expert on July 22, a day before his deposition.
15            5.   Although Plaintiffs did not serve a formal discovery request, counsel for Defendants
16     attempted to negotiate informally with Plaintiffs’ counsel to arrange for the experts to remotely
17     view but not download the videos on a secure Web site. CDCR was ultimately not able to
18     implement this technical solution.
19            I declare under penalty of perjury under the laws of the State of California and the United
20     States of America that the foregoing is true and correct. Executed in San Francisco, California on
21     July 26, 2013.
22                                                /s/ Patrick R. McKinney
                                                  Patrick R. McKinney
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                                       Decl. Patrick R. McKinney Supp. Defs.’ Position Re: UOF Videos
                                                                                 (2:90-cv-00520 LKK JFM PC)
